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IN THE UNITED sTATEs DISTRICT coURT
FoR THE WESTERN DISTRICT oF TENNESSEEOSJUL-S PH 3=19

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oLIvIA sHEPARD HAYES, ET AL., KDGF?B EMMB

 

Plaintiffs,

VS. NO. 05-2019-Ma
HOME TECH SERVICES CO., ET AL.,

Defendants.

 

ORDER AMENDING SCHEDULE

 

Pursuant to the June 6, 2005, letter to the court from Bruce
Alexander, deemed by the court to be a motion to re-set the trial
in this matter, the court held a status conference on June 23,
2005. Attending on behalf of the plaintiffs were Webb Brewer and
Sapna Raj. Participating on behalf of the defendants were Evan
Nahmias, Bruce Alexander, John Golwen, Mary Katherine Hovious,
and Virginia Patterson. For good cause shown, the court amends
the scheduling order as follows:

l. Plaintiffs’ response to the pending motion to dismiss

is due July 5, 2005.
2. The parties will submit a joint proposed pretrial order

by 5200 p.m. on September l, 2006.

3. A pretrial conference is set September 8, 2006, at 9:00
a.m.
4. The jury trial is re-set to Monday, September 18, 2006,

at 9:30 a.m. and is expected to take 6 days.

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Absent good cause, the amended schedule set by this order

will not be modified or extended.

So ORDERED this BQVK day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:05-CV-02019 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

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Honorable Samuel Mays
US DISTRICT COURT

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